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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA,
              Plaintiff,                                     CASE NO.:       19-CR-60198-UNGARO/HUNT

v.
                                                             DEFENDANT’S RESPONSE TO
JERMAINE WILLIAMS,                                           GOVERNMENT’S MOTION IN LIMINE
              Defendant.                                     [D.E. 20]

         COMES NOW the Defendant, JERMAINE WILLIAMS, by and through the undersigned

counsel, and responds to the Government’s “Motion in Limine for Pretrial Evidentiary Ruling Regarding

Inextricably Intertwined Evidence of Uncharged Crimes,” [D.E. 20], as follows:

         1)       The Government on December 13, 2019, moved in limine for a pretrial order allowing the

introduction of evidence and testimony concerning the Defendant’s alleged drug dealing.                     The

investigation of drug offenses led Broward Sheriff’s Office deputies to locate a firearm in a car

connected to the Defendant.

         2)       At the time of the Government’s motion, the Defendant was under a one-count

indictment charging him with Possession of a Firearm and Ammunition by a Convicted Felon. [D.E. 1].

The indictment was returned on July 11, 2019.

         3)       The Defendant agrees with the Government’s analysis of the law of inextricable

intertwinement. And if the Government was still proceeding on its original indictment, the Defendant

would concede the motion.

         4)       However, on February 20, 2020, a superseding indictment was returned, further charging

the Defendant with Possession of a Firearm in Furtherance of a Drug Trafficking Crime. [D.E. 39]. The

addition of this count means the “inextricably intertwined” evidence described by the Government no

longer meets that definition; it would constitute direct, relevant evidence of the crime alleged in the new

count.



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       WHEREFORE, the Defendant prays that this Court DENY AS MOOT the Government’s

“Motion in Limine for Pretrial Evidentiary Ruling Regarding Inextricably Intertwined Evidence of

Uncharged Crimes.”

                                                     Respectfully submitted,

                                                     /s/ Carter T. Hillstrom
                                                     CARTER T. HILLSTROM
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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served by the CM/ECF

system on March 6, 2020, on all counsel or parties of record.

                                                     /s/ Carter T. Hillstrom
                                                     CARTER T. HILLSTROM




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